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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

                                                 :
Thomas Johnston,                                 :
                                                 :
                                                 :
                       Plaintiff,                :
                                                   Civil Action No.: 3:11-cv-00591-DRH -DGW
       v.                                        :
                                                 :
Omni Credit Services of Florida, Inc.; and       :
                                                                                                   (
DOES 1-10, inclusive,                            :
                                                                                                   D
                                                 :
                                                                                                   R
                                                 :
                                                                                                   H
                       Defendant.                :

                                    NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 30 days.


Dated: July 29, 2011

                                                  Respectfully submitted,

                                                  PLAINTIFF, Thomas Johnston

                                                  By: _/s/ Tali Albukerk _________
                                                    Tali Albukerk, Esq.
                                                    LEMBERG & ASSOCIATES L.L.C.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2011, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court Southern District of Illinois
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Tali Albukerk_________

                                                     Tali Albukerk
